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United States Department of State

Washington, D.C. 20520

 

February 12, 2020
Ms. Angela D. Caesar
United States District Court
For the District of Columbia
333 Constitution Ave. N.W.
Washington, DC 20001

Re: Daniel Bottorff, et al. v. Islamic Republic of Iran, 1:18-cv-03122-
CKK

Dear Ms. Caesar:

I am writing regarding the Court’s request for transmittal of a Summons,
Complaint, and Notice of Suit to the Islamic Republic of Iran pursuant to 28
U.S.C. Section 1608(a)(4) as a defendant in the above referenced lawsuit.

Because the United States does not maintain diplomatic relations with the
Government of Iran, the Department of State is assisted by the Foreign Interests
Section of the Embassy of Switzerland in Tehran in delivering these documents to
the Iranian Ministry of Foreign Affairs. The documents were delivered to the
Iranian Ministry of Foreign Affairs under cover of diplomatic note No. 1020-IE,
dated January 21, 2020 and delivered on January 22, 2020. A Certified copy of the
diplomatic note is enclosed.

Sincerely,

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Jared N. Hess
Attorney Adviser ai

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Overseas Citizens Services
Office of Legal Affairs |

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Michael Miller

The Miller Firm LLC
108 Railroad Ave.
Orange, VA 22960
